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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

FIRS'I` AMENDED
COMPLAINT

CHARLES C. HARRIS, THOMAS CLEF‘FORD,

DAVID R. DESROSIERS, RICHARD M. EVENS,
WILLIAM S. McLAUGHLIN, JR., THOMAS M. MURPHY,
IAMES POWERS, GARY PREVOST, ROBERT ROZELL,
TERRY L. VANARNU`M, JR., KEVIN WHIBLE,

PAUL J. WOLFE, DAVID .T. COWLES, and

JOHN W. WEAVER,

Plaintiffs,
C'iv'il Action No. 05-CV-951
-against-

F}NCH, PRUYN & COMPANY, INC.,

THE R.ETIREMENT BOARD OF FINCH, PRUYN & CO., INC.,
RICHARD J. CAROTA, DAVID P. MANNY,

LAURIER J. LAVIGNE, JEFFR_EY W. BENWAY,

fOHN E. LEVANDOSKY, and FINCH PAPER, LLC

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Defendants.

Plaintiffs, by their undersigned attorneys, Blitrnan & King LLP, complaining of the Defendants,

respectfuiiy allege as follows:

I. JURISDICTION AND VENUE
1. This is an action arising under the Employee Retirement lncorne Security Act of 1974, as
amended [hereinafter “ER.ISA”] [29 U.S.C. §§1001 e_t M.]. lt is an action by participants of the Hourly
401(1<) Plan of Finch, Pruyn & Cornpany, Inc. against Finch, Pruyn & Com_pany, lnc. [hereinafter “Finch
Pruyn” or “Corporation”] and the Plan’S fiduciaries for declaratory, injunctive, and other appropriate
relief to remedy violations of ERISA Sections 404(a), 405(a) and 510 [29 U.S.C. §§l 104(a); 1105(a);

1140].

 

 

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2. Jurisdiction is conferred on this Court by ERISA Sections 502(a)(l) through (3), and
502(e) [29 U.S.C. §§1 132(a)(1) through (3) and ll32(e)], Without respect to the amount in controversy or
the citizenship of the parties, as provided in ERISA Section 502(@ [29 U.S.C. §1132(f)], and pursuant to
the laws of the United States ofAmerica [28 U.S.C. §1331].

3. Venue is established in this Court by ERISA Section 502(e)(2) [29 U.S.C. §l 132(e)(2)].
lt is an action brought in the judicial district Where the Plan is administered and Where the breaches of

fiduciary duty took place.

II. DESCRIPTION OF THE PARTIES
A. Description of Plaintiffs

4. Plaintiff Charles C. Harris was a participant of the Plan Within the meaning of ERISA
Section 3(7) [29 U.S.C. §1002(7)]. Plaintiff Harris resides Within the Northern District ofNeW York at 7
Queensbury Place, Queensbury, New York.

5. Plaintiff Thomas Clifford Was a participant of the Plan Within the meaning of ERISA
Section 3(7) [29 U.S.C. §1002(7)]. Plaintiff Clifford resides Within the Northern District of New York at
80~1 Needle Park Circle, Queensbury, New York.

6. Plaintiff David R. Desrosiers was a participant of the Plan Within the meaning of ERISF:
Section 3(7) [29 U.S.C. §1002(7)]. Pla.intiff Desrosiers resides Within the Northern District ofNeW York
at 80 Sanill Road, Bolton Landing, NeW York.

7. Plaintift` Richard M. Evens was a participant of the Plan Within the meaning of ERISA
Section 3(7) [29 U.S.C. §1002(7)]. Plaintiff Evens resides Within the Northem District ofNeW York at

10182 State Route 149, Fort Ann, New York.

 

 

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8. Plaintiff William S. McLaughlin, Jr. was a participant of the Pian Within the meaning of
ERISA Section 3(7) [29 U.S.C. §1002(7)]. Plaintift` McLaughlin, .Ir. resides Within the Northern District
of New Yorl< at 543 Selfridge Road, Gansevoort, New York.

9. Plaintiff Thomas M. Murphy Was a participant of the Plan Within the meaning of ERISA
Section 3(7) [29 U.S.C. §1002(7)]. Plaintiff Murphy resides Within the Northern District ofNeW York at
22 Orchard Street, Glens Falls, New York.

10. Plaintiff J ames Powers Was a participant of the Plan Within the meaning of ERISA Section
3(7) [29 U.S.C. §1002(7)]. Plaintiff Woife resides within the North.em District ofNew York at 6 Kidder
Lane, Glens Falls, NeW York.

11. Plaintiff Gary Prevost Was a participant of the Plan Within the meaning of BRISA Section
3(7) [29 U.S.C. §1.002(7)}. PlaintiffPrevost resides Within the Northem District of New York at 10 Mt.
View Drive, South Giens Falls, New Yorl<.

12. Plaintiff Robert Rozell Was a participant of the Plan Within the meaning of ERISA Section
3(7) [29 U.S.C. §1002(7)]. PlaintiffRozell resides Within the Northern District ofNew York at 38 Skene
Street, Whitehall, New York.

13. Plaintiff Terry L. VanArnum, Jr. Was a participant of the Plan Within the meaning of
ERISA Section 3(7) [29 U.S.C. §1002(7)]. PlaintiffVanArnum, Jr. resides Within the Northern District
of New York at 105 LaFayette Street, Victory Mills, NeW York.

14. Plaintiff Kevin Whible Was a participant of the Plan Within the meaning of ERISA Section
3(7) [29 U.S.C. §1002(7)]. Plaintiff Whible resides Within the Northern District ofNeW York at P.O.

Box 1488, South Glens Falls, New York.

 

 

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15. PlaintiffPaul 5. Wolfe was a participant of the Plan within the meaning of ERISA Section
3(7) [29 U.S.C. §1002(7)]. Plaintit`f Wolfe resides within the Northern District ofNew York at 12 Tenth
Avenue, Hudson Falls, New York.

16. Plaintit`t` David .T. CoWles was a participant of the Plan within the meaning of ERlSA
Section 3(7) [29 U.S.C. §1002(7)]. Plaintiff Cowles resides within the Northem District ofNew York at
3 Sugarbush. Road, Queensbury, New Yorl<.

17. Plaintiff John W. Weaver Was a participant of the Plan Within the meaning of ERISA
Section 3(7) [29 U.S.C. §1002(7)]. Plaintiff Weaver resides Within the Northern District ofNew Yorl< at
18 Aubum Place, Giens Falls, New York.

18. All Plaintiffs in this action were denied the right to maintain their status as participants
Within the meaning of ERISA Section 3(7) [29 U.S.C. §1002(7)] because of Defendants’ violations of
ERISA Sections 404(a), 405(a), and 510.

B. Description of Defendants

19. Upon information and belief, Defendant F inch Pruyn & Company, lnc. [hereinat`ter “Finch
Pruyn” or “Corporation”] is a domestic business incorporated under the laws of the State of New York,
having its principal place of business and offices located at l Gien Street, Glens Falls, New York.

20. Upon information and belief, Det`endant Finch Pruyn is an “ernployer” within the meaning
of ERISA Section 3(5) [29 U.S.C. §1002(5)].

21. Defendant Richard J. Carota, Chairman, President & C.E.O. of Fi'nch, Pruyn & Cornpany,
lnc., resides Within the State of New York.

22. During all times material to this case, Defendant Carota was a member of the Retirement

Board of Finch, Pruyn & Company, Inc.

 

 

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23. Upon information and belief, Defendant David P. Manny, Executive Vice President &
Secretary of Finch, Pruyn & Company, Inc., resides within the State of New York.

24. During all times material to this case, Defendant Manny was a member of the Retirement
Board of Finch, Pruyn & Company, Inc.

25. Upon information and belief, Defendant Laurier J. Lavigne, Treasurer of Finch, Pruyn &
Company, lnc., resides within the State of New York.

26. During all times material to this case, Defendant Lavigne was a member of the Retirement
Board of Finch, Pruyn & Company, lnc.

27. Upon information and belief, Defendant leffrey W. Benway, Personnel Director of Finch,
Pruyn & Company, Inc., resides within the State of New York.

28. During all times material to this case, Defendant Benway was a member of the Retirement
Board of Finch, Pruyn & Company, Inc.

29. Upon information and belief, Defendant .l olin E. Levandosl<y, Benetits Manager of Finch,
Pruyn & Company, lnc., resides within the State ofNew York.

30. During all times material to this case, Defendant Levandosky was a member of the
Retirement Board of Finch, Pruyn & Company, Inc.

31 . Det`endant Retirement Board exercises discretionary authority or control with respect to`
the Plan, and is a fiduciary of the Plan within the meaning ofERISA Section 3(21)(A) [29 U.S.C.
§1002(21)(A)].

32. Upon information and belief, Defendant Finch Paper LLC purchased the assets of
Defendant Finch, Pruyn & Company.

33. Upon information and belief, Defendant Finch Paper LLC has its principal place of

business and offices at l Glen Street, Glens Falls, New Yo'rk.

 

 

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34. Upon information and belief, Finch Paper LLC operates the former Finch, Pruyn plant
with a full complement of employees, including individuals formerly employed by Defendant Finch,
Pruyn & Company.

III. DESCRIPTION OF FACTS
COMMON TO ALL CAUSES OF ACTION
A. Averments Reiated to the Plan

35. The Plan is a pension plan within the meaning of ER`{SA Section 3(2)(A) [29 U.S.C.
§1002(2)(A)].

36. The Retirement Board represents the Plan as Plan Administrator. {A copy of the August
29, 1997 Resolntion of the Board of Directors of the Finch, Pruyn & Company, lnc. is attached hereto at
Exhibit “A”].

37. The Retirement Board is a named fiduciary of the Plan.

38. The Retirement Board exercises discretionary authority or control over the Plan.

39. The Plan provides for certain employees of the Cor_poration to make elective deferrals to
the Plan for retirement benefits in amounts not to exceed fifteen percent (15%) of a participant’s earnings
in a plan year.

40. The terms and conditions of the Plan are set forth in a collection of documents including,
but not limited to, documents entitled the Putnam Flexible 401(k) and Proflt Sharin g Plan Agreement and
the Putnam Basic Plan Document #07 as marked and executed by one or more of Defendants [hereinafter
“Plan Document”] [A copy of the relevant portions of the Plan Document are attached hereto at Exhibit
“B”].

41. Article 15.1 of the Plan Document provides that the Plan be administered in accordance

With its terms.

 

 

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42. Article 12.2 of the Plan Document authorizes the Plan’s fiduciaries to permit the
withdrawal of funds from a participant’s account with the Plan based on, among other factors, the
participant’s demonstrated financial hardship

43. A Plan participant is not required to resign or retire from his or her position with the
Corporation in order to receive a withdrawal pursuant to Articl.e 12.2 of the Plan Document

44. Article 12.5 of the Plan Document authorizes the Plan’s fiduciaries to loan amounts to a
participant from the vested portion of the participant’s account with the Plan based on, among other
factors, the participant’s financial need.

45. A Plan participant is not required to resign or retire from his or her position with the
Corporation in order to receive a loan pursuant to Article 12.5 of the Plan Document

46. Article 2.17 of the Plan Document defines Employer as “the Employer named in the Plan
Agreement and any successor to all or the major portion of its assets or business which assumes the
obligations of the Employer under the Plan Document
B. Averments for Ptaintiff Charles C. Harris

47. in or about November 2001, Plaintiff Harris’ wife, Karen, a beneficiary of the Plan,
telephoned Defendant Levandosky and asked how Plaintiff Harris could get access to the monies in his
Plan account without retiring `

48. Defendant Levandosky never told Plaintiff Harris’ wife or Plaintiff Harris about a
hardship withdrawal option.

49. Based on the incomplete information from Befendant Levandosky, Plaintiff Harris

terminated his employment with Finch Pruyn in order to access his Plan monies.

 

 

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50. At the time Defendant Levandosky provided this incorrect information, Plaintiff Harris
did not know he could receive a hardship withdrawal from his Plan account without terminating his
employment

51. Defendants misrepresented misled Plaintiff Harris, or otherwise concealed information
about the benefits available to PlaintiffHarris from the Plan.
C. Averments for Plaintiff Thomas Clifford

52. Sornetime in 2002, Plaintiff Clifford spoke on the telephone to Defendant Levandosky and
asked how he could get access to monies held his Plan account and when such access would be available

53. During this telephone conversation, Defendant Levandosky told Plaintiff Clifford he had
to resign his position at Finch Pruyn to take any money out of his Plan account.

54. Based on the statements from Defendant Levandosky about his Plan account, Plaintiff
Clifford terminated his employment with Finch Pruyn in order to access his Plan monies.

55. At the time Defendant Levandosky provided this incorrect information, Pla'intiff Clifford
did not know he could receive a hardship withdrawal from his Plan account without terminating his
employment

56. Defendants misrepresented, misled Plaintiff Clifford, or otherwise concealed information
about the benefits available to Plaintiff Clifford from the Plan. H
D. Averments for Plaintiff David R. Desrosiers

5'7. ln or about June 2002, PlaintiffDesrosiers spoke on the telephone initially with Defendant
Benway and later with Defendant Levandosky and asked each of them how he could access the monies in

his Plan account

 

 

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58. Defendants Benway and Levandosky told Plaintiff Desrosiers in response to inquiries
about the Plan that he had to provide a Written letter of resignation in order to access monies held in his
Pian account

59. Based on the statements from Defendants Benway and Levandosky about his Plan
account, Plaintiff Desrosiers terminated his employment with Finch Pruyn in order to access his Plan
monies.

60. At the time Defendants Benway and Levandosky provided this incorrect information,
Plaintiff Desrosiers did not know he could receive a hardship withdrawal from his Plan account without
terminating his employment

61. Defendants misrepresented, misled PlaintiffDerosiers, or otherwise concealed
information about the benefits available to Plaintiff Desrosiers from the Plan.

E. Averments for Plaintiff Richard M. Evens

62. ln or about January 2003, Plaintiff Evens spoke with Defendant Levandosky about a
disability pension and asked him about his options with the Plan.

63. Defendant Levandosky told Plaintiff Evens that he had to retire from his position with the
Corporation to access monies held in his Plan account

64. Based on the statements from Defendant Levandosky, Plaintiff Evens terminated his
employment with Finch Pruyn in order to access his Plan monies

65. At the time Defendant Levandosky provided this incorrect information, Plaintiff Evens did
not know he could receive a hardship withdrawal from his Plan Accoun.t without terminating his
employment

66. Defendants misrepresented, misled Plaintiff Evens, or otherwise concealed information

about the benefits available to Plaintiff Evens from the Plan.

 

 

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F. Averlnents for Plaintiff William S. McLaughlin

67. Sometime in early 2000 and again in November of 200l, Plaintiff Mcl_.aughlin contacted
Defendant Levandosky and asked how he could access monies in his Plan account

68. Defendant Levandosky answered questions from Plaintiff Mcl_,aughlin about the benefits
available to Plaintiff Mc]_.aughiin from the Plan but never told him about a hardship withdrawal option.

69. At the time Defendant Levandosky provided this incomplete information, Plaintiff
McLaughlin did not know he could receive a hardship withdrawal from his Plan account without
terminating his employment

70. Defendants misrepresented misled Plaintiff McLaughlin, or otherwise concealed
information about the benefits available to Plaintiff McLaughlin from the Plan.
G. Averments for Plaintiff Thomas M. Murphy

71. ln or about April 2002, Plaintiff Murphy spoke in person to Defendant Levandosky and
asked how he could access the monies in his Plan account

72. Dun'ng this conversation, Plaintiff Murphy said that he was retiring from the Corporation
in order to access the monies from his Plan account

73. Defendant Levandosky never told Plaintiff Murphy about a hardship withdrawal option.

74. At the time Defendant Levandosky provided this incomplete information, Plaintiff
Murphy did not know he could receive a hardship withdrawal from his Plan account without terminating
his employment

75. Defendants misrepresented, misled Plaintiff l\/lurphy, or otherwise concealed information

about the benefits available to Plaintiff Murphy from the Plan.

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H. Averrneuts for Plaintiff J ames Powers

76. ln or about December 2001, PlaintiffPowers spoke in person to Defendant Levandosky
and asked how he could access monies in Plan account

'77. Defendant Levandosky told Plaintiff Powers that the only option available to receive the
monies from the Plan was to resign.

78. Based on the statements from Defendant Levandosky, Plaintiff Powers terminated his
employment with Finch Pruyn. in order to access his Plan monies.

79. At the time Defendant Levandosky provided this incorrect information, Plaintiff Powers
did not know he could receive a hardship withdrawal from his Plan account without terminating his
employment

80. Defendants misrepresented, misled Plaintiff Powers, or otherwise concealed information
about the benefits available to PlaintiffPowers from the Plan.
I. Averments for Plaintiff Gary Prevost

81 . Sometirne late in 2001 or early 2002, Plaintiff Prevost Spoke in person with Defendant
Levandosky and asked how he could access the monies in his Plan account

82. Defendant Levandosky told Plaintiff Prevost that he had to retire from his position with
the Corporation in order to access the monies from his Plan account

83. Based on the statements from Defendant Levandosky, Plaintiff Prevost terminated his
employment with Finch Pruyn in order to access his Plan monies

84. At the time Defendant Levandosky provided this incorrect information to Plaintiff
Prevost, Plaintiff Prevost did not know that he could receive a hardship withdrawal from his Plan account

without terminating his employment

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85. Defendants misrepresented, misled Plaintiff Prevost, or otherwise concealed information
about the benefits available to Plaintiff Prevost from the Plan.
J. Averments for Plaintiff Robert Rozell

86. In or about May 2002, Plaintiff Rozell spoke in person with Defendant Levandosky and
asked him how he could access monies in his Plan account

87. Defendant Levandosky told Plaintiff Rozell he had to “leave” the Corporation or wait
until he reached age 65 in order to access the monies from his Plan account

88. Based on the statements from Defendant Levandosky, Plaintiff Rozell terminated his
employment with Finch Pruyn in order to access his Plan monies.

89. At the time Defendant Levandosky provided this incorrect information to Plaintiff Rozell,
Plaintiff Rozell did not know that he could receive a hardship withdrawal from his Plan account without
terminating his employment

90. Defendants misrepresented, misled Plaintiff Rozell, or otherwise concealed information
about the benefits available to PlaintiffRozell from the Plan_

K. Averments for Plaintiff Terry L. VanArnum, Jr.

91. Sometirne in the spring of 2002, Plaintiff VanArnum, Ir. spoke on the telephone to
Defendant Levandosky and asked how he could access the monies in his Plan account

92. Defendant Levandosky told Plaintiff VanArnum, Jr. that he had to retire in order to access
the monies from his Plan account

93. Based on the statements from Defendant Levandosky, Plaintiff VanAmum, .Tr. terminated

his employment with Finch Pruyn in order to access his Plan monies.

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94. At the time Defendant Levandosky provided this incorrect information, Plaintiff
VanArnurn, Jr. did not know he could receive a hardship withdrawal from his Plan account without
terminating his employment

95. Defendants misrepresented, misled PlaintiffVanArnum, Jr., or otherwise concealed
information about the benefits available to Plaintiff VanArnum, Jr. from the Plan.

L. Averments for Plaintiff Kevin Whibie

96. Sornetime in 2001, Plaintiff Whible spoke on the telephone with Defendant Levandosky
and asked how he could access monies in his Plan account

97. Defendant Levandosky told him that he had to retire from his position to access monies
f`rorn his Plan account

98. Based on the statements from Defendant Levandosky, Plaintiff Whible terminated his
employment with Finch Pruyn in order to access his Plan monies

99. At the time Defendant Levandosky provided this incorrect information, Plaintiff Whible
did not know he could receive a hardship withdrawal from his Plan account without terminating his
employment

100. Defendants misrepresented, misled Plaintiff Whible, or otherwise concealed information
about the benefits available to Plaintiff Whible from the Plan. H
M. Averments for Plaintiff Paul J. Wolfe

101. ln late 2001, Plaintiff Wolfe spoke in person with Defendant Levandosky and asked how
he could access the monies from his Plan account

102. Defendant Levandosky never told Plaintiff Wolfe about the possibility of a hardship

withdrawal from the Plan account

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103. Based on the incomplete statements from Defendant Levandosky, Plaintiff Wolf`e
terminated his employment with F inch Pruyn in order to access his Plan monies

104. At the time Defendant Levandosky provided this incomplete infonnation, Plaintiff Wolf`e
did not know he could receive a hardship withdrawal from his Plan account without terminating his
employment

105. Defendants misrepresented, misied Plaintiff Wolfe, or otherwise concealed information
about the benefits available to Plaintiff Wolfe from the Plan.
N. Averments for Plaintiff David J. Cowles

106. Sometime after .Tune 2002, Plaintiff Cowles spoke to Defendant Levandosky about
accessing the monies from his Plan account

107. During this conversation, Defendant Levandosky told Plaintiff Cowles that the only way
he could access money from his Plan account was to resign.

108. Based on the statements from Defendant Levandosky, Plaintiff Cowles terminated his
employment with Finch Pruyn in order to access his Plan monies.

109. Defendant Levandosky never told Plaintiff Cowles about the possibility of a hardship
withdrawal from his Plan account

110. At the time Defendant Levandosky provided this incomplete information, Plaintiff Cowles
did not know he could receive a hardship withdrawal from his Plan account without terminating his
employment

lll. Defendants misrepresented, misled Plaintiff Cowles, or otherwise concealed information

about the benefits available to Plaintiff Cowles from the Plan.

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0. Averments for John W. Weaver

112. hi the months of September, November, and December 2001, Plaintiff Weaver spoke on
the telephone and in person with Defendant Levandosky about his Plan account

113. During these conversations, Plaintiff Weaver asked Defendant Levandosky when he could
get access to his Plan account

ll4. Defendant Levandosky told Plaintiff Weaver that he had to resign or retire to access the
monies from his Plan account

115. Based on the statements from Defendant Levandosky, Plaintiff Weaver terminated his
employment with Finch Pruyn in order to access his Plan monies.

116. At the time Defendant Levandosky provided this incomplete information, Plaintiff
Weaver did not know he could receive a hardship withdrawal from his Plan account without terminating
his employment

ll7. Defendants misrepresented, misled Plaintiff Weaver, or otherwise concealed information
about the benefits available to Plaintiff Weaver from the Plan.

IV. FIRST CAUSE OF ACTION
MADE AGAINST THE RETIREMENT BOARD

llS. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “l l 7” inclusive of this Complaint as if fully set forth herein.

ll9. ERlSA Section 404(a) provides that fiduciaries must discharge their duties With respect to
an ERISA covered plan “solely in the interest of the participants and bcneficiaries” and “f`or the exclusive

purpose of providing benefits” and “defraying reasonable administrative expenses” [29 U.S.C.

§l 104(a)(l)(A)].

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120. ERISA Section 404(a) also provides that fiduciaries must discharge their duties “in
accordance with the documents and instruments governing the plan insofar as such documents and
instruments” are consistent with federal law [29 U.S.C. §l lO¢l(a)(l)(D)].

lZl. ln accordance Wi.th the obligations of ERISA Section 404(a), ERISA fiduciaries are
prohibited from making misrepresentations conceming, or otherwise misleading participants or
beneficiaries about, the terms and conditions of the documents and instruments governing the employee
benefit plan.

122. As described in more detail above, Defendant members of the Retirement Board, acting in
their capacity as fiduciariesj violated their ERISA fiduciary duties by misrepresenting or otherwise
misleading Plaintiffs about the Plan Document by stating that Plaintiffs must resign or retire from their
position with the Corporation in order to receive a withdrawal, loan, or other distribution of all or a
portion of the monies from their Plan accounts

123. Plaintiffs were injured as a result of Defendants’ violations of their ERlSA fiduciary
duties including, but not limited to, the loss of employment with the Corporation, the loss of additional
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts

124. As a result of the breaches of fiduciary duty described above, Defendant members of the
Retirement Board are jointly and severally liable to make good to the Plan any losses resulting from their
breaches of` fiduciary responsibility, to restore to the Plan any profits of such fiduciary which have been
made through the use of assets of the Plan, and such other equitable and remedial relief as the Court may
deem appropriate, including, but not limited to, an injunction ordering Defendants to: (a) permit
Plaintiffs to rescind their elections to resign or retire from the Corporation; (b) reinstate Plaintiffs to their
positions with the Corporation with full back pay; and (c) restore Plaintiffs’ Plan accounts with

restoration of lost earnings

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V. SECOND CAUSE OF AC'I`ION
MADE AGAINST THE RETIREMENT BOARD

125. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “124” inclusive of this Complaint as if fully set forth herein.

126. In accordance with the obligations of ERISA Section 404(&), ERISA fiduciaries are
required to provide complete and accurate information in response to inquires from participants or
beneficiaries about the terms and conditions of the employee benefit plan, and ERISA fiduciaries
likewise are prohibited from concealing or omitting material information in response to such questions

127. As described in more detail above, Defendant members of the Retirement Board, acting in
their capacity as fiduciaries violated their ERISA fiduciary duties by failing to provide complete and
accurate information in response to inquires from Plaintiffs about the terms and conditions of the Plan
Document, and/or by concealing or omitting material information about the terms and conditions of the
Plan Document concerning whether Plaintiffs must resign or retire from their position with the
Corporation in order to receive a withdrawal, loan, or other distribution of all or a portion of the monies
from their Plan accounts

128. Plaintiffs were injured as a result of Defendants’ violations of their ERISA fiduciary
duties including, but not limited to, the loss of employment with the Corporation, the loss of additionaf
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts

129. As a result of the breaches of fiduciary duty described above, Defendant members of the
Retirement Board are jointly and severally liable to make good to the Plan any losses resulting nom their
breaches of fiduciary responsibility, to restore to the Plan any profits of such fiduciary which have been
made through the use of assets of the Plan, and such other equitable and remedial relief as the Court may

deem appropriate, including, but not limited to, an injunction ordering Defendants to: (a) permit

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Plaintiffs to rescind their elections to resign or retire from the Corporation; (b) reinstate Plaintiffs to their
positions with the Corporation with full back pay; and (c) restore Plaintiffs’ Plan accounts with
restoration of lost earnings
VI. THIRD CAUSE OF ACTION
MADE AGAINST THE RETIREMENT BOARD

130. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “129” inclusive of this Complaint as if fully set forth herein

13 l. ln accordance with the obligations of ERISA Section 404(a), ERISA fiduciaries are
required to discharge their duties with respect to the plan solely in the interest of the participants and
beneficiaries an obligation typically referred to as the duty of loyalty.

132. As described in more detail above, Defendant members of the Retirement Board, acting in
their capacity as fiduciaries violated their ERISA fiduciary duty of loyalty by providing misinformation
to Plaintiffs about the terms and conditions of the Plan Document to encourage terminations of
employment for the benefit of Defendant F inch Pruyn.

l33. Plaintiffs were injured as a result of Defendants’ violations of their ERlSA fiduciary duty
of loyalty including, but not limited to, the loss of employment with the Corporation, the loss of
additional elective deferrals to the Plan, and the loss of earnings related to their Plan accounts 5

134. As a result of the breaches of fiduciary duty described above, Defendant members of the
Retirement Board are jointly and severally liable to make good to the Plan any losses resulting from their
breaches of fiduciary responsibility, to restore to the Plan any profits of such fiduciary which have been
made through the use of assets of the Plan, and such other equitable and remedial relief as the Court may
deem appropriate, including, but not limited to, an injunction ordering Defendants to: (a) permit

Pl.aintit`f`s to rescind their elections to resign or retire from the Corporation; (b) reinstate Plaintiffs to their

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positions with the Corporation with hall back pay; and (c) restore Plaintiffs’ Plan accounts with
restoration of lost earnings

VII. FOURTH CAUSE OF ACTION
MADE AGAINST THE RETIREMENT BOARI)

135. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “134” inclusive of this Complaint as if fully set forth herein.

136. ER[SA Section 404(a) provides that fiduciaries must discharge their duties with respect to
an ERISA covered plan “solely in the interest of the participants and beneficiaries” and “with the care,
skill, prudence . . .that a prudent man” would use in such circumstances {29 U.S.C. §l lO4(a)(l)(B)].

137. As described in more detail above, Defendant members of the Retirement Board, acting in
their capacity as fiduciaries, are liable for the breaches of ERISA fiduciary duty described herein by
failing to act with sufficient care, skill, prudence, and diligence to monitor fiduciaries in the performance
of their duties.

138. Plaintiffs were injured as a result of Defendants’ violations of their ERISA fiduciary
duties including, but not limited tc, the loss of employment with the Corporation, the loss of additional
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts

139. As a result of the breaches of fiduciary duty described above, Defendant members of the
Retirernent Board are jointly and severally liable to make good to the Plan any losses resulting from their
breaches of fiduciary responsibility, to restore to the Plan any profits of such fiduciary which have been
made through the use of assets of the Plan, and such other equitable and remedial relief as the Court may

deem appropriate, including, but not limited to, an injunction ordering Defendants to: (a) permit

Plaintiffs to rescind their elections to resign or retire from the Corporation; (b) reinstate Plaintiffs to their

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positions with the Corporation with hill back pay; and (c) restore Plaintiffs’ Plan accounts with
restoration of lost earnings
VIII. FIFTH CAUSE OF ACTION
MADE AGAINST RETIREMENT BOARD

140. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “139” inclusive of this Complaint as if fully set forth herein..

l4l. in accordance with ERISA Sectio'n 405(a), ERISA fiduciaries are liable for the breaches of
fiduciary responsibility by another fiduciary if their failure to act with the care, skill, prudence and
diligence of a prudent rnan in the administration of the trust enables the other fiduciary to breach his or
her duties [29 U.S.C. §l lOS(a)(l)(A)].

l42. As described in more detail above, Defendant members of the Retirement Board, acting in
their capacity as fiduciaries, are liable for the breaches of ERISA fiduciary duty described herein by
failing to act with sufficient care, skill, prudence, and diligence which enabled fiduciaries to distribute
misinformation to Plaintiffs about the terms and conditions of the Plan Document.

143. Plaintiffs were injured as a result of Defendants’ violations of their ERISA fiduciary
duties i.ncl'uding, but not limited to, the loss of employment with the Corporation, the loss of additional
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts H

144. As a result of the breaches of fiduciary duty described above, Defendant members of the
Retirement Board are jointly and severally liable to make good to the Plan any losses resulting from their
breaches of fiduciary responsibility, to restore to the Plan any profits of such fiduciary which have been
made through the use of` assets of the Plan, and such other equitable and remedial relief as the Court may
deem appropriate, including, but not limited to, an injunction ordering Defendants to: (a) permit

Pla'intiffs to rescind their elections to resign cr retire from the Corporation; (b) reinstate Plaintiffs to their

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positions with the Corporation with full back pay; and (c) restore Plaintiffs’ Plan accounts with
restoration of lost earnings

IX. SIXTH CAUSE OF ACTI()N

MAI)E AGAINST FINCH PRUYN

145. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “144” inclusive of this Complaint as if fully set forth herein

146. Defendant Corporation exercised discretionary authority or control with respect to the
Plan during the time periods relevant to this case, by, inter _al_ia_, appointing members of the Retirernent
Board to serve as Plan Administrator and as named fiduciary

147. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the
Plan within the meaning of ERISA Section 3(21)(A) [29 U.S.C. §lUOZ(Zl)(A)].

148. As described in more detail above, Defendant Corporation, in its capacity as a fiduciary, is
liable for the breaches of ERISA fiduciary duty described herein by failing to act with sufficient care,
slcill, prudence, and diligence to appoint appropriate fiduciaries

149. Plaintiffs were injured as a result of Defendant’s violations of its ERISA fiduciary duties
including, but not limited to, the loss of employment with the Corporation, the loss of additional elective
deferrals to the Plan, and the loss of earnings related to their Plan accounts

l50. As a result of the breaches of fiduciary duty described above, Defendant Corporation is
liable to make good to the Plan any losses resulting from its breaches of fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the
Plan, and such other equitable and remedial relief as the Court may deem appropriate, including, but not

limited to, an injunction ordering Defendants to: (a) permit Plaintiffs to rescind their elections to resign

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or retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Corporation with full

back pay; and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings

X. SEVENTH CAUSE OF ACTION
MADE AGAINST FINCH PRUYN

lS l. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “150” inclusive of this Complaint as if fully set forth herein

152. Defendant Corporation exercised discretionary authority or control with respect to the
Plan during the time periods relevant to this case, by, injr_ alia appointing members of the Retirement
Board to serve as Plan Administrator and as named fiduciary.

153. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the
Plan within the meaning of ERISA Section 3(21)(A) {29 U.S.C. §1002(21)(A)].

154. As described in more detail above, Defendant Corporation, in its capacity as a fiduciary, is
liable for the breaches of ERISA fiduciary duty described herein by failing to monitor the fiduciaries in
the performance of their duties

155. Plaintiffs Were injured as a result of Defendant’s violations of its ERISA fiduciary duty
includi'ng, but not limited to, the loss of employment with the Corporation, the loss of additional elective
deferrals to the Plan, and the loss of earnings related to their Plan accounts

156. As a result of the breaches of fiduciary duty described above, Defendant Corporation is
liable to make good to the Plan any losses resulting from its breaches of fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the
Plan, and such other equitable and remedial relief as the Court may deem appropriate, including, but not

limited to, an injunction ordering Defendants to: (a) permit Plaintiffs to rescind their elections to resign

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or retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Corporation with full
back pay; and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings

XI. EIGHTH CAUSE OF ACTION
MADE AGAINST FINCH PRUYN

157. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “156” inciusive of this Complaint as if fully set forth herein.

158. Defendant Corporation exercised discretionary authority or control with respect to the
Plan during the time periods relevant to this case, by, inter al'_ia, appointing members of the Retirement
Board to serve as Plan Administrator and as named fiduciary.

159. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the
Plan within the meaning of ERISA Section 3(21)(A) [29 U.S.C. §iOOZ(Zl)(A)].

160. ln accordance with ERISA Section 405(a), ERISA fiduciaries are liable for the breaches of
fiduciary responsibility by another fiduciary if their failure to act with the care, skill, prudence and
diligence of a prudent man in the administration of the trust enables the other fiduciary to breach his or
her duties [29 U.S.C. §l lOS(a)(l)(A)].

16].. As described in more detail above, Defendant Corporation is liable for the breaches of H
ERISA fiduciary duty described herein by failing to act with sufficient care, skill, prudence, and diligence
thereby enabling fiduciaries to commit breaches by distributing misinformation to Plaintiffs about the
terms and conditions of the Plan document

162. Plaintiffs were injured as a result of Defendant’s Violations of its ERISA fiduciary duty
including, but not limited to, the loss of employment with the Corporation, the loss of additional elective

deferrals to the Plan, and the loss of earnings related to their Plan accounts

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163. As a result of the breaches of fiduciary duty described above, Defendant Corporation is
liable to make good to the Plan any losses resulting from its breaches of` fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the
Plan, and such other equitable and remedial relief as the Court may deem appropriate, including, but not
limited to, an injunction ordering Defendants to: (a) permit Plaintiffs to rescind their elections to resign
or retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Cor_poration with full
back pay; and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings

XII. NINTH CAUSE OF AC'I`ION
MADE AGAINST FINCH PRUYN

164. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “1”
through “163” inclusive of this Complaint as if fully set forth herein

165. Defendant Corporation acted as a fiduciary by, inter glia_, communicating with participants
regarding Plan 'managenient, administration benefits and other issues involving discretionary authority
and control.

166. Defendant Corporation exercised discretionary authority with respect to the Plan by
periodically communicating directly to Plan participants about the benefits from the Plan.

167. Defendant Corporation represented to Plan participants that it exercised discretionary
authority with respect to the Plan.

168. Defendant Corporation exercised ultimate control over the fiduciary functions of the Plan.

169. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the

Plan within the meaning of ERISA Section 3(21)(A) [29 U.S.C. §lOOZ(Ql)(A)].

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170. Defendant Corporation through its agents John E. Levandosky and .lef`frey W. Benway
exercised discretionary authority with respect to the Plan by responding to inquiries from Plaintiffs about
the terms of the Plan Document

171. Defendant Corporation through its agents John E. Levandosky and Jef`frey W. Benway
exercised discretionary authority with respect to the Plan by interpreting its terms regarding benefits
available to Plaintiffs from the Plan.

172. Defendant Corporation through its agents John E. Levandosky and Jeffrey W. Benway
exercised discretionary authority with respect to the Plan by representing to Plaintiffs that these agents
were responsible for interpreting Plan terms regarding benefits available to Plaintiffs from the Plan.

173. As described in more detail above, Defendant Finch Pruyn violated its ERISA fiduciary
duties by failing to provide complete and accurate information in response to inquires from Plaintiffs
about the terms and conditions of the Plan Document and/or by concealing or omitting material
information about the terms and conditions of the Plan Document concerning whether Plaintiffs must
resign or retire from their position With the Corporation in order to receive a withdrawal, loan, or other
distribution of all or a portion of the monies from their Plan accounts

174. Plaintiffs were injured as a result of Defendant’s violations of their ERISA fiduciary
duties including, but not limited to, the loss of employment with the Corporation, the loss of additional
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts

175. As a result of the breaches of fiduciary duty described above, Defendant F inch Pruyn is
liable to make good to the Plan any losses resulting nom its breaches of fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the
Plan, and such other equitable and remedial relief as the Court may deem appropriate, including, but not

limited to, an injunction ordering Defendants to: (a) permit Plaintiffs to rescind their elections to resign

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or retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Corporation with full
back pay; and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings

XIII. TENTH CAUSE OF ACTION
MADE AGAINST FINCI-I PRUYN

176. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “175” inclusive of this Complaint as if fully set forth herein

177. Defendant Corporation acted as a fiduciary by, m Lia, communicating with participants
regarding 'rnanagernent, administration and other issues involving discretionary authority and control.

178. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the
Plan within the meaning of ERISA Section 3(21)(A) [29 U.S.C. §1002(2l)(A)].

179. As described in more detail above, Defendant Finch Pruyn violated its ERlSA fiduciary
duties by misrepresenting or otherwise misleading Plaintiffs about the Plan Document by stating that
Plaintiffs must resign or retire from their position with the Corporation in order to receive a withdrawal,
loan, or other distribution of all or a portion of the monies from their Plan accounts

180. Plaintiffs were injured as a result of Defendant’s violations of their ERISA fiduciary
duties including, but not limited to, the loss of employment with the Corporation, the loss of additionalH
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts

181. As a result of the breaches of fiduciary duty described above, Defendant Finch Pruyn is
liable to make good to the Plan any losses resulting from its breaches of fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the

Plan, and such other equitable and remedial relief as the Court may deem appropriate, including, but not

limited to, an injunction ordering Defendant to: (a) permit Plaintiffs to rescind their elections to resign or

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retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Corporation with full back
pay; and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings.

XIV. ELEVENTH CAUSE OF ACTION
MADE AGAINST FINCH PRUYN

182. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “ 1 ”
through “l 81” inclusive of this Complaint as if fully set forth herein

183. Defendant Corporation acted as a fiduciary by, ing B, communicating with participants
regarding management, administration, and other issues involving discretionary authority and control.

184. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the
Plan within the meaning of ERISA Section 3(21)(A) [29 U.S.C. §lOOZ(Zl)(A)].

185. As described in more detail above, Defendant Corporation violated its ERISA fiduciary
duty of loyalty by providing misinformation to Plaintiffs about the terms and conditions of the Plan
Document to encourage terminations of employment f`or the benefit of Defendant Corporation.

186. Plaintiffs were injured as a result of Defendant’s violations of their ERISA fiduciary duty
of loyalty including, but not limited to, the loss of employment With the Corporation, the loss of
additional elective deferrals to the Plan, and the loss of` earnings related to their Plan accounts

187. As a result of the breaches of fiduciary duty described above, Defendant Finch Pruyn is
liable to make good to the Plan any losses resulting from its breaches of fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the

Plan, and such other equitable and remedial relief as the Court may deern appropri ate, including, but not

limited to, an injunction ordering Defendant to: (a) permit Plaintiffs to rescind their elections to resign or

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retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Corporation with full back
pay;, and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings
XV. TWELFTH CAUSE OF ACTION
MADE AGAINST FINCH PRUYN

188. Plaintiffs repeat and reallege each and every ailegation contained in paragraphs “i”
through “187” inclusive of this Complaint as if fuily set forth herein.

189. Defendant Corporati.on acted as a fiduciary by, in_t_§_r _a_.l_i__a, communicating with participants
regarding management, administration, and other issues involving discretionary authority and control.

190. To the extent Defendant Corporation exercised discretionary authority or control with
respect to the Plan during the time periods relevant to this case, the Corporation was a fiduciary of the
Plan within the meaning of ERiSA Section 3(21)(A) [29 U.S.C. §lOOZ(Zl)(A)]_

l9l. As described in more detail above, Defendant Corporation is liable for the breaches of
ERiSA fiduciary duty described herein by failing to act with sufficient care, skill, prudence, and diligence
to prevent the distribution of misinformation to Plaintiffs about the terms and conditions of the Plan
Document

192. Plaintiffs were injured as a result of Defendant’s violations of their ERISA fiduciary
duties including, but not limited to, the loss of employment with the Corporation, the loss of additionaf
elective deferrals to the Plan, and the loss of earnings related to their Plan accounts.

193. As a result of the breaches of fiduciary duty described above, Defendant Finch Pruyn is
liable to make good to the Plan any losses resulting from its breaches of fiduciary responsibility, to
restore to the Plan any profits of such fiduciary which have been made through the use of assets of the
Plan, and such other equitable and remedial relief as the Court may deem appropriate, including, but not

limited to, an injunction ordering Defendant to: (a) permit Plaintiffs to rescind their elections to resign or

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retire from the Corporation; (b) reinstate Plaintiffs to their positions with the Corporation with full back
pay; and (c) restore Plaintiffs’ Plan accounts with restoration of lost earnings
XVI. THIR'I`EENTH CAUSE OF ACTION
MADE AGAINST FINCH PRUYN

194. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “193” inclusive of this Complaint as if fully set forth herein.

195. An_ individual, including a non-fiduciary corporation, is liable to remedy the violations of
ERISA Where it has knowledge of a breach of fiduciary duty.

196. Finch Pruyn had knowledge of the breaches of fiduciary duty described above and/or had
knowledge of the circumstances that rendered the transactions involving Finch Pruyn, Plaintiffs, and the
Plan unlawful

197. Regardless ofwh.ether Finch Pruyn is determined to be a fiduciary within the meaning of
ERlSA Section 3(21)(A) [29 U.S.C. §lOOZ(Zl)(A)], Finch Pruyn is liable for the violations ofERISA
described herein.

198. As a result of the violation of ERISA described above, Defendant Finch Pruyn is liable for
appropriate equitable and remedial relief, including, but not limited to, an injunction ordering Defendants
to: (a) permit Plaintiffs to rescind their elections to resign or retire from the Corporation; (b) reinstate 5
Plaintiffs to their positions with the Corporation with full back pay; and (c) restore Plaintiffs’ Plan

accounts with restoration of lost earnings

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XVII. FOURTEENTH CAUSE OF ACTION
MADE AGAINST ALL DEFENDANTS

199. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “198” inclusive of this Complaint as if fuin set forth herein.

200. ERISA Section 510 makes it unlawful for any person to discharge, fine, suspend, expel,
discipline, or discriminate against a participant or beneficiary for exercising any right to which he is
entitled under the provisions of an employee benefit plan, ERISA Titles l and lli, or the Welfare and
Pensio.n Plans Disclosure Act, or for the purpose of interfering with the attainment of any right to which
such participant may become entitled under the Plan, ERISA ’l`itie l, or the Wel.fare and Pension Plans
Disclosure Act [29 U.S.C. §1140].

201. As described in more detail above, Defendants discriminated against Plaintiffs for the
purpose of interfering with the attaimnent of rights under ERISA and/or the Plan, including, but not
limited to, the receipt of a hardship withdrawal or other benefit under the Plan.

202. Plaintiffs were injured as a result of Defendants’ violations of ERiSA Section 510
including, but not limited to, the loss of employment with the Corporation, the loss of additional elective
deferrals to the Plan, and the loss of earnings related to their Plan accounts

203. As a result of the violation of ERISA described above, Defendants are liable for H
appropriate equitable and remedial relief, including, but not limited to, an injunction ordering Defendants
to: (a) permit Plaintiffs to rescind their elections to resign or retire from the Corporation; (b) reinstate
Plaintiffs to their positions with the Corporation with full back pay; and (c) restore Plaintiffs’ Plan

accounts with restoration of lost earnings

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XVIII. FIFTEENTH CAUSE OF ACTION
MADE AGAINST ALL DEFENDANTS

204. Plaintiffs repeat and reallege each and every allegation contained in paragraphs “l”
through “203” inclusive of this Complaint as if fully set forth herein.

205 . ERISA Section 502(g)(l) provides in part that in any ERISA action, the Court may in its
discretion allow for reasonable attorneys’ fees and costs of the action [29 U.S.C. §l l32(g)(l)].

206. Plaintiffs conduct this action in the interest of all of the Plan’s participants and
beneficiaries, including Plaintiffs Plaintiffs, therefore, seek relief to benefit the Plan as well as applicable
participants and beneficiaries

207. Pfaintiffs are entitled to attorneys’ fees because, among other reasons, Plaintiffs’ position
has greater merit than Defendants’ position, and Defendants’ activities are to the detriment of the
participants and beneficiaries in the Plan.

208. Pursuant to ERISA Section 502(g)(l), Plaintiffs request an award of attorneys’ fees and
costs.

XIX. SIXTEENTH CAUSE OF ACTION
MADE AGAINS'I` FINCH PAPER LLC

G\‘.]”

209. Plaintiffs repeat and reallege each and every allegation contained in paragraphs
through “208” inclusive of this Complaint as if fully set forth herein.

210. Upon information and belief, Defendant F inch Paper LLC engages and operates a business
substantially identical to that conducted by Defendant Finch, Pruyn & Company.

211. Upon information and belief, the customers Serviced and the nature of the business
conducted by Defendant Finch Paper LLC is substantially identical to that of Defendant Finch, Pruyn &

Company.

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212. Defendant Finch, Pruyn & Company, upon information and belief, caused all or
substantially all of its property, inventory and assets to be transferred and conveyed to Defendant Finch
Paper LLC such that Defendant Finch Paper LLC utilizes the same tools and equipment and operates
from the same physical location and address as Defendant Finch, Pruyn & Company.

213. Defendant Finch Paper LLC is a successor to Finch, Pruyn & Company and/or is a mere
extension of continuation ofDefendant Finch, Pruyn & Company.

214. Defendant F inch Paper LLC is a party to the same collective bargaining agreements that
Defendant Finch, Pruyn & Company was bound to.

215. Defendant F inch Paper LLC, as a successor, therefore is liable for appropriate and
equitable relief, including reinstating Plaintiffs to their positions with the Corporation with full back pay

for violations of ERISA alleged in Causes of Action One through Fifteen.

XIX. PRAYER FOR RELIEF

WHEREFORE, Plaintiffs respectfully request that the Court award declaratory, inj unctive, and
other relief against Defendants, as foilows:

A. A declaration that fiduciary duties under ERISA were breached and that Plaintiffs are
entitled to appropriate relief to remedy the violations ;

B. On Plaintiffs’ First through Twelfth Causes of Action, judgment in an amount to make
good to the Plan any losses resulting from breaches of fiduciary responsibility, to restore to the Plan any
profits of such fiduciary which have been made through the use of assets of the Plan, and such other
equitable and remedial relief as the Court may deem appropriate, including, but not limited to, an

injunction ordering: (a) rescission of Pl.aintif`fs’ elections to resign or retire from the Corporation; (b)

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reinstatement of Plaintiffs to their positions with the Corporation with hill back pay; and (c) restoration
of Plaintiffs’ Plan accounts with restoration of lost earnings;

C. On Plaintiffs’ Thirteenth Cause of Action, judgment against Defendant F.inch, Pruyn &
Company for appropriate equitable and remedial relief, including, but not limited to, an injunction
ordering: (a) rescission of Plaintiffs’ elections to resign or retire from the Corporation; (b) reinstatement
of Plaintiffs to their positions with the Corporation with full back pay; and (c) restoration of Plaintiffs’
Plan accounts With restoration of lost eamings;

D. On Plaintiffs’ Fourteenth Cause of Action, judgment for appropriate equitable and
remedial relief, including, but not limited to, an injunction ordering: (a) rescission of Plaintiffs’ elections
to resign or retire from the Corporation; (b) reinstatement ofPlaintiffs to their positions with the
Corporation with hill back pay; and (c) restoration of Plaintiffs’ Plan accounts with restoration of lost
earnings;

E. On Plaintiffs’ Fifteenth Cause of Action, judgment for the attorneys’ fees and costs
incurred by Plaintiffs with respect to this action; and

F. On Plaintiffs’ SiXteenth Cause of Action, judgment against Defendant Finch Paper LLC
for appropriate equitable and remedial relief, including an injunction ordering reinstatement of Plaintiffs

to their former positions with full back pay.

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G. Such other equitable relief as the Court may deem just and appropriate

DATED: Iuly l, 2008 BLITMAN & KING LL

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J a s R. LaV/dute, of Co}insel \
Bar Roll No 102020

  
 
 

 

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